                             UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN


 JUSTIN BLAKE,
                                                     Case No: 22-cv-0970
                   Plaintiff,
         v.

DAVID BETH, et al.,

                   Defendants.


         PLAINTIFF’S BRIEF IN OPPOSITION TO THE COUNTY DEFENDANTS’
                 MOTION FOR SUMMARY JUDGMENT (ECF No. 81)


        NOW COMES Plaintiff, Justin Blake (“Blake”), by his attorneys, and for his brief in

opposition to Defendants David Beth County of Kenosha, Kyle Bissonnette, Jacob

DiCello, Gloria Galvan, Dereemeyun Haynes, Jeremy May, and Wisconsin Municipal

Mutual Insurance Company, (collectively, the “County Defendants”, unless otherwise

noted) Motion for Summary Judgment (ECF No. 81). For the reasons stated herein, and

because genuine issues of material fact are prevalent, this Court should deny the motion

in its entirety.

                                 STATEMENT OF FACTS

        Plaintiffs have filed a response to the County Defendants’ proposed findings of fact

(“CDPF”), ECF 83, as well as his own proposed findings of fact (“PFOF”).

        This case highlights how polarizing viewpoints can lead officers to conduct their

jobs in a haphazard and unconstitutional way. One’s exercise of their First Amendment

rights – especially considering that our constitutional rights are as sacred as ever in our




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current political climate – should never be infringed upon simply because of another’s

disagreement. This case is a vehicle to uphold those rights.

       Mr. Blake is the uncle of Jacob Blake. On Sunday, April 25, 2021, Mr. Blake,

religious leader Jonathan Barker, community member Joseph Cardinelli, and other public

members, were peacefully protesting the decision by Kenosha County to not impose any

consequences related to the shooting of Mr. Blake’s nephew, Jacob Blake, outside the

Kenosha Public Safety Building (hereinafter “KPSB”) nephew. PFOF ¶ 1.

       Sometime after 10:00 p.m. on April 25, Mr. Blake, Barker, and Cardinali, were

arrested by Kenosha Sheriff’s Department (“KSD”) deputies. PFOF ¶ 2; ECF 83, CDPF ¶

41. These deputies include Defendant Kyle Bissonnette and Sgt. Michael Pittsley,

(“Officers”). CDPF ¶ 41, 44.

       Despite all three men being involved in the same protest and exhibiting the same

behavior, Mr. Barker and Mr. Cardinelli, who are both white, were arrested for disorderly

conduct under the false pretense that they prevented “at least one citizen from entering

the Public Safety Building.” ECF 82 at 14. Mr. Blake, who is black, was arrested for the

disorderly conduct allegation and also an additional obstruction allegation. ECF 82, at 14.

There was no probable cause to arrest Mr. Blake for disorderly conduct and obstruction.

PFOF ¶¶ 10-11. After Mr. Blake was arrested by Defendant Bissonnette the Officers

became aware that Mr. Blake continued his silent protest while in custody. PFOF ¶ 2. Mr.

Blake invoked his First Amendment rights by remaining silent. Id. The Officers were aware

that Mr. Blake continued his silent protest upon arresting him; Officers added the

obstruction charge purportedly because Mr. Blake did not have identification on him and

chose to continue his silent protest. PFOF ¶ 4. Mr. Cardinali and Mr. Barker were released




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around 2:00 a.m. but before being released were required to post $150 bond. PFOF ¶ 24,

36. Conversely, Mr. Blake was required to pay a $450 bond. Id.

         Although Mr. Blake remained silent, there were numerous emails and reports

throughout the day where the Officers and other defendants had clearly identified Justin

Blake as one of the peaceful protestors arrested the evening before. PFOF ¶¶ 2,3,36-42.

This is likely because the press had been reporting on the District Attorney’s decision not

to charge or discipline Jacob Blake’s shooter. Officers claimed that when they arrested

Mr. Blake, they did not know who he was, but the evidence in the record quite clearly

suggests otherwise. PFOF ¶¶ 34-39.

         Despite Mr. Blake exercising his right to remain silent, and his First Amendment

right to protest, he was punished, retaliated against, and forced into an Emergency

Restraint Chair (“ERC”) by Officers Jeremy May, Kyle Bissonnette, Jacob DiCello, Gloria

Galvan, Dereemeyun Haynes collectively referred to as “Defendant Officers,” some of

whom either put him in the ERC while others – like Defendant Jessica Bergmann1 - stood

idly by, watching Mr. Blake become tightly strapped to the ERC by his chest, arms, and

legs for almost seven total hours. PFOF ¶ 3, 118. At no time was Mr. Blake aggressive,

combative, or violent before, during, or after being placed in the ERC and there was no

emergency, legal or medical reasons to justify his placement into the ERC. PFOF ¶¶ 47,

55-61.

         After nearly seven total hours in the ERC, Mr. Blake abandoned his silent protest

out of pain and agony and was released from the ERC once he identified himself to a

deputy. PFOF ¶ 97. The consequence of being strapped to an ERC for hours had a


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  Jessica Bergmann is also a named defendant in this matter. Plaintiff also filed a Motion in Opposition to
their Motion for Summary Judgment. ECF 70.


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devastating physical and emotional impact on Mr. Blake and was in violation of his

constitutional rights. PFOF ¶ 116.

                                        ARGUMENT

       Summary judgment is required only where “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a)(emphasis added). When considering a motion for summary judgment, the Court is

to take the evidence in the light most favorable to the non-moving party and may grant

the motion only if no reasonable juror could find for that party. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 247-48, 255, 106 S. CT. 2505 (1986); Schuetta v. Aurora Nat’l Life

Assurance Co., 27 F.Supp.3d 949, 955-56 (E.D. Wis. 2014), citing Fed.R.Civ.P. 56(a).

Importantly, a court must construe all facts in the light most favorable to the nonmoving

party and draw all reasonable and justifiable inferences in favor of that party when

determining whether a genuine issue of material fact exists. See, e.g., Simpson v.

Merchants Recovery Bureau, Inc., 171 F.3d 546, 551 (7th Cir. 1999). This requires the

Court to “construe all inferences in favor of the party against whom the motion under

consideration is made.” Rupcich v. United Food & Commercial Workers Int’l Union, 833

F.3d 847, 853 (7th Cir. 2016)(citations omitted); Payne v. Pauley, 337 F.3d 767, 770 (7th

Cir. 2003)(Credibility determinations and weighing of the evidence “. . . are jobs for a

factfinder.”).

       Here, Blake asserts five counts against the County Defendants, Defendant

Officers, and Insurance Company. Mr. Blake alleges (1) First Amendment Retaliation

(Count 2, ECF. 59, at ¶¶ 91-106); (2) excessive force under the Fourteenth and Fourth

Amendments (Count 5, ¶¶ 132-149); (3) failure to intervene (Count 7, ¶¶ 150-163); (4)




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negligent hiring, training, and supervision against Kenosha County (Count 12, ¶¶ 192-

198); and (5) failure to render aid (Count 15, ¶¶ 220 – 225).2

          Plaintiff further acknowledges that Kenosha County is responsible for the acts of

all Defendants to this matter and that the 11 th Claim for Relief of Indemnification is not a

“claim” in and of itself, as well as the 16th Direct Action Claim against the Defendant

Insurance Company. The County Defendants’ motion should be denied for the reasons

stated below.

I.        Blake’s First Amendment Retaliation Claim Against Defendant Officers,
          Bissonnette, DiCello, Galvan, Haynes, and May Should Survive Summary
          Judgment. (Claim 2)

          Plaintiff maintains that his First Amendment claim against Defendant Officers Kyle

Bissonnette, DiCello, Galvan, Haynes, and May should not be dismissed because

genuine issues of material fact prevent summary judgment from being appropriate.

           To prevail on his First Amendment retaliation claim, Mr. Blake must show that (1)

    he engaged in a protected First Amendment activity; (2) that he “suffered a deprivation

    that would likely deter First Amendment activity in the future”; and (3) causation—

    specifically, “the First Amendment activity was ‘at least a motivating factor’ in the

    Defendants’ decision to take the retaliatory action against Plaintiff.” Douglas v. Reeves,

    964 F.3d 643, 646 (7th Cir. 2020), quoting Bridges v. Gilbert, 557 F.3d 541, 546 (7th Cir.

    2009). The activity in question relates to Blake protesting police brutality and in support

    of police accountability as it relates to the shooting of his nephew. Because Plaintiff can




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 Plaintiff voluntarily dismisses Counts 1 (First Amendment claim), 3 (Deliberate Indifference claim), 4 (First
Amendment Excessive Force and Arrest claim), 6 (Cruel and Unusual Punishment claim), 8 (Excessive
Detention claim), 14 (Monell), 17 (Equal Protection), and Defendant Beth from this action.


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 satisfy each element for First Amendment Retaliation, this claim must survive and be

 presented to a jury.

       A.     Engagement in activity protected by the First Amendment.

       A plaintiff asserting First Amendment retaliation must first demonstrate that the

activity in question was protected by the First Amendment. Protected speech is that which

deals with matters of “public concern;” the inquiry is a question of law. Connick v. Myers,

461 U.S. 138, 145, 103 S. Ct. 1684, 75 L. Ed. 2d 708 (1983). It is well established that

the right to criticize public officials is at the heart of the First Amendment. New York Times

Co. v. Sullivan, 376 U.S. 254, 269–70, 84 S.Ct. 710, 11 L. Ed. 2d 686 (1964). “[I]t is

a prized American privilege to speak one's mind, although not always with perfect good

taste, on all public institutions.” Bridges v. California, 314 U.S. 252, 270, 62 S.Ct. 190, 86

L.Ed. 192 (1941). “[D]ebate on public issues should be uninhibited, robust, and wide-

open, and ... it may well include vehement, caustic, and sometimes unpleasantly sharp

attacks on government and public officials.” New York Times Co., 376 U.S. at 270, 84 S.

Ct. 710.

       County Defendants offer no argument, and therefore concede that, Mr. Blake had

a First Amendment right after he was arrested and while inside the Kenosha Secure

Detention Facility, (hereinafter “KSDF”) and before he was placed and kept in the ERC.

Mr. Blake was arrested by Defendant Bissonnette and officers were aware that he

continued with his silent protest while in their custody on April 25-26, 2021. PFOF ¶ 2-3.

Bissonette testified that no one, including him, gave Mr. Blake his Miranda warnings.

PFOF ¶ 6. Defendant Bissonnette further stated that he first asked Mr. Blake for his name

after he was transported to the KSDF. PFOF ¶ 7. Mr. Blake continued to protest with his




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silence. PFOF ¶¶ 2,4. Mr. Blake’s silence was the motivating factor in Defendant Officers’

retaliation against him and prompted them restraining Blake to the ERC for nearly seven

total hours.      PFOF ¶ 22. The Kenosha County Corporate Representative, Douglas

Simpson, agreed that Mr. Blake was placed in the restraint chair because “the only

thing he did not do was give his name and talk”. PFOF ¶ 8.

       It is worth acknowledging that the Fifth Amendment also protects Mr. Blake’s right

to remain silent. Mr. Blake has a right to remain silent and routine booking information

may be asked by police during the booking process. See State of Wisconsin v. Bryant,

2001 WI App 41 (collecting cases) (defining the “routine booking question exception” to

Miranda v. Arizona, 384 U.S. 436 (1966)). However, regardless of whether the Fifth

Amendment’s protections were offered, Mr. Blake was clearly exercising his First

Amendment right to remain silent. PFOF ¶ 1, 2, 4. This protected speech began prior to

his arrest. Id.

       Summary judgment is inappropriate because the parties have differing stories; yet,

the record is clear that 1) Mr. Blake was inside the KSDF protesting with his silence in

accordance with his First Amendment rights and was never combative, violent, or

resisting; 2) Mr. Blake was placed and kept fully restrained in the ERC for nearly seven

hours because “the only thing he did not do was give his name and talk”, and 3) Defendant

Officers are trained that the “ERC is intended to help control combative, self-destructive,

or potentially violent detainees,” but abandoned their training and put Mr. Blake in the

ERC. PFOF ¶¶ 2, 4, 8, 22, 46, 47,.

       A.      Mr. Blake’s protest outside the Kenosha Public Safety Building is
               protected activity under the First Amendment

       Defendant Officers argue that Mr. Blake’s form of protest outside the KPSB was



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not protected by the First Amendment because Blake purportedly blocked the entrance

to the building. ECF 82, at 17. This statement is not only misleading, but it is patently

false. Deputy Bissonnette deceptively claimed that “Blake and his fellow protestors

prevented at least one citizen (Judith Devine) from entering the KPSB and that the

protestors were refusing to leave the doorway until their demands to meet with certain

officials were met.” ECF 82 at 14; ECF 83, CDPF at ¶¶31-32. Defendants further state

that, “Judith Devine, was unable to enter the PSB to obtain a copy of a police report

because the protestors refused to move away from the doors.” Id.

       In direct contradiction to Defendant Officers’ “smoking gun” argument, on March

10, 2025, Blake was found not guilty of the civil violation of disorderly conduct by a jury.

See Declaration of Kimberley Cy. Motley, hereinafter “Motley Decl.” at Exhibit 1; PFOF ¶

11. Judith Devine, the citizen whom Defendants repeatedly claim was “prevented…from

entering the Public Safety Building” testified at Mr. Blake’s jury trial. ECF 82 at 14, PFOF

¶ 12. When asked if anyone prevented her from entering the Public Safety Building on

April 25, 2021, Ms. Devine testified that “Oh, no. Absolutely not. Actually they (a men

protesting) opened the door for me.” PFOF ¶ 12. She further testified that no one

prevented her from exiting the building either and that “[t]hey (the people protesting)

asked if I wanted coffee when I was leaving.” PFOF ¶ 13. Ms. Devine also testified that it

would be “absolutely not” true if “there was a police report that said that (she) told the

police that (she) was prevented from entering the building.” PFOF ¶ 29.

       The chasm between Defendant Officers’ claim that Mr. Blake and the others were

acting as an improper barrier for public access is categorically false. ECF 82 at 14. Not

only that, but it serves as a significant dispute of material fact. One the one hand,




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Defendant Officers assert they were justified in arresting Mr. Blake for his protest for

impeding citizens like Ms. Devine, but on the other, that same witness has debunked their

entire theory. Id., PFOF ¶¶ 12-14. Any way it is spun, Mr. Blake’s constitutional right to

protest peacefully was interfered with.

       Furthermore, Kenosha Detective Allison George testified at the jury trial that Mr.

Blake was arrested for disorderly conduct because “protestors,” not Mr. Blake specifically,

were preventing citizens Bonnie Cunningham and Judith Devine from entering or exiting

the building. PFOF ¶ 15. But neither citizen was prevented from entering or exiting the

building by Mr. Blake. Id., ¶ ¶17-18. George testified under oath that, “she wrote a report”

and that she spoke with Ms. Cunningham who was “trying to submit a report (and that

she) was prevented from entering the building by Mr. Blake.” PFOF ¶ 16. At trial,

Detective George was shown video footage of Bonnie Cunningham outside the KPSB

and identified Mr. Blake as the person standing up the entire time wearing a red, black,

and green mask away from the entrance. PFOF ¶ 17. For the entire video, Justin Blake

and Bonnie Cunningham never once interact. Id. After watching this video in court,

Detective George then completely changed her testimony stating that she “could not say

for certain that Mr. Blake prevented anyone from entering the building.” Id.

       Similarly, contrary to his authored report, Deputy Bissonnette never witnessed

Blake preventing anyone from entering or exiting the building and he never told Blake to

move from the public sidewalk in front of the building. PFOF ¶ 19. Therefore, this Court

should take judicial notice of the fact that he did not prevent anyone from entering or

exiting the public building as a jury found Blake not guilty of that same conduct. PFOF ¶

1.




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       Mr. Blake was peacefully protesting for police accountability–in the very city

where his nephew was shot seven times—and did not block the entrance to the public

building. PFOF ¶ 1. It is well-settled that police brutality and misconduct are matters of

public concern. Delgado v. Jones, 282 F.3d 511, 519 (7th Cir. 2002); Gonzalez v. City of

Chicago, 239 F. 3d 939, 941 (7th Cir. 2001). See also Irizarry v. Yehia, 38 F. 4th 1282,

1285, 1294 (10th Cir. 2022) (stating “the First, Third, Fifth, Seventh, Ninth, and Eleventh

Circuits have all concluded that it is clearly established law that a journalist has the right

to film the police performing their duties in public as late as 2019.”). Therefore, Mr. Blake

protesting outside the KPSB and then later inside KSDF is protected activity, and the

first element has been satisfied.

       B.     Suffering of a Deprivation Likely to Deter Future First Amendment
              Activity.

        Next, Plaintiff must declare that “the alleged adverse action ... must be sufficient

 to deter an ordinary person from engaging in that First Amendment activity in the future.”

 Santana v. Cook Cnty. Bd. Of Rev., 679 F.3d 614, 622 (7th Cir 2012); see also Surita v.

 Hyde, 665 F.3d 860, 878 (7th Cir 2011) (“We apply an objective test: whether the alleged

 conduct by the defendants would likely deter a person of ordinary firmness from

 continuing to engage in protected activity.”).

       Defendants similarly do not argue that Mr. Blake did not suffer a deprivation

likely to chill First Amendment activity likely because community members have a

constitutional right to engage in protests. Being arrested and subjected to any level of

force for peacefully protesting not only violates one’s constitutional rights but also serves

as a powerful deterrent to the exercise of First Amendment freedoms. See Black

Lives Matter Seattle-King Cnty. V. City of Seattle, Seattle Police Dep’t, 466 F. Supp.


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3d 1206, 1213 (W.D. Wash. 2020) (finding police department’s “use of less-lethal, crowd

control weapons” on protestors “ha[d] surely chilled speech”).

      The actions of Defendant Officers against Mr. Blake who continued to silently

protest inside the KSDF of (1) restraining Blake in the ERC for nearly seven hours

because he did not “talk” (PFOF ¶ 2, 4, 8, 22); (2) arresting Blake for an obstruction

allegation to which he was never charged (PFOF ¶ 10, 24); (3) giving Blake a larger bond

of $450 when Barker and Cardinelli who also were protesting and arrested were only

required to pay $150 bond (PFOF ¶24); all of these actions by Defendant Officers

certainly sends a chilling message that Blake, in exercising his freedom of speech, right

against self-incrimination, and right to remain silent could result in physical harm,

effectively undermining his right to protest police accountability. PFOF ¶ 116. The adverse

action (force) need not silence all community members, but it is sufficient if it would deter

a reasonable person from protesting against the government under similar

circumstances.

       This element is not in contention and is therefore satisfied.

       C.     Causation.

       The final element requires Plaintiff to demonstrate causation, which may be proven

through direct or circumstantial evidence. Kidwell v. Eisenhauer, 679 F.3d 957, 965 (7th

Cir. 2012). Plaintiff need not show but-for causation, but only that the protected activity

is a motivating factor in the defendants’ conduct. Massey, 457 F.3d at 717 (emphasis

added). Yet, the protected activity and adverse action cannot be completely unrelated.

Kidwell, 679 F.3d at 966. To establish causation through circumstantial evidence, a

plaintiff may present evidence of “suspicious timing, ambiguous oral or written




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statements, or behavior towards or comments directed at other [persons] in the protected

group.” Id., quoting Long v. Tchrs.’ Ret. Sys. of Ill., 585 F.3d 344, 350 (7th Cir. 2009).

       Defendants mislead this Court to believe that Mr. Blake was criminally charged

with a misdemeanor disorderly conduct and obstruction offense. ECF. 82 at 11.

Specifically, Defendants cite to Wis. Stat. 946.41(1), the criminal statute for obstruction,

and argue that,

       “there is no question that Blake was obstructing officers by refusing to comply with
       their commands, refusing to answer safety questions, and refusing to allow jail staff
       to complete the booking process.” ECF 82, at 14

       This is purposefully false as Mr. Blake was never criminally charged with any

misdemeanor crimes. PFOF ¶ 10, 23. Instead, Blake was ticketed for a Kenosha County

municipal ordinance violation, Disorderly Conduct 9.947.01, of which he was found not

guilty. PFOF ¶ 10, 11. Defendant Bissonnette, the arresting officer, did not have the legal

authority to book and arrest Mr. Blake on these meritless allegations because of the lack

of probable cause. PFOF ¶ 23, 25. Bissonnette offered conflicting testimony about the

arrest and stated that on the one hand after handcuffing, but before asking Blake for his

name, “he was told to arrest [Blake] for” obstruction and disorderly conduct. PFOF ¶ 26.

Later, Defendant Bissonnette changed his testimony, contradicting himself and testified

that the basis for the obstructing charge was “because he refused to identify himself” after

he was arrested. Id., ¶ 27. Ultimately, Mr. Blake was never charged with obstructing as

the arrest was baseless. PFOF ¶10, 23.

       Defendant Officers’ argument that they arrested Mr. Blake for disorderly conduct

because “Blake and his fellow protestors prevented at least one citizen (Judith Devine)

from entering the KPSB and that the protestors were refusing to leave the doorway until




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their demands to meet with certain officials were met” is untrue. ECF 82 at 14. To recap,

on March 10, 2025, at a trial on the municipal violation, where Blake was found not guilty,

Judith Devine, testified that:

       1.      No one prevented her from entering the building and in fact, a male
               protestor, “actually they opened the door for me.” PFOF ¶12-13

       2.      She did “actually enter that door” and was “able to get (her) report.
               PFOF ¶ 28.

       3.      And it was “absolutely not” true “if there was a police report that said
               that (she) told police that (she) was prevented from entering the
               building,” and that she “didn’t see any police” either outside or inside
               the building that day. PFOF ¶ 29.

       Once Mr. Blake was arrested, he continued his silent peaceful protest, was neither

combative nor resistive and was put in the ERC for hours. PFOF ¶ 4, 5, 47.

       When Defendant Haynes, who assisted in placing and keeping Blake restrained in

the ERC, was questioned about Rusten Shensky, the officer who shot Mr. Blake’s nephew

seven times, Haynes testified that he “felt bad” and that it was “very rough for (Shensky)

and he would not want to walk a mile in his shoes.” PFOF ¶ 30. Conversely, when asked

if Defendant Haynes also “felt bad” for Jacob Blake, for being shot seven times and nearly

killed in front of his three children, he testified,

       “I don't know the answer to that because, again, there isn't a clear thing on
       what was the follow up to the event. News and media only blasted the fact
       that he was shot as he was, you know, trying to take care of his kids. So,
       you know, without knowing the total circumstance I can't answer that
       wholly.”

PFOF ¶ 31.
Haynes further expressed his resentment as to how he was negatively impacted by what

he termed as the “Jacob Blake” shooting and said:

       “as detention personnel we had to walk through this (protesting) every day.
       It got to the point where we had to bussed in instead of driving to work like



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       a normal day. We had to be bussed in. We parked our cars out at KCDC.
       So, the whole ordeal just -- it turned into a nightmare for Kenosha County.”

PFOF ¶ 32.

       Defendant DiCello testified how “annoyed” he was after the riots in Kenosha as he

had to “arrive at KCDC normally at least an hour to an hour-and-a-half before shift

started,” and they had to be “bussed into the pretrial facility” because “they couldn’t

guarantee safety (for) our vehicles or us.” PFOF ¶ 33.

       The important takeaways from Haynes and DiCello’s testimony is that the

Defendant Officers were resentful of Mr. Blake’s peacefully protesting the failure to hold

the officer accountable for nearly killing his nephew and as a result they used the

opportunity to punish him from the “nightmare” that Kenosha County was put through.

PFOF ¶ 32. As a result, Mr. Blake was arrested for non-criminal disorderly conduct and

obstruction, was punished for not saying his name, despite officers May, Bissonnette, and

Haynes knowing who he was, and then he was placed and kept restrained in the ERC for

hours. PFOF ¶ 5, 8, 22. The actions of Defendant Officers of arresting, and then

subsequently restraining Mr. Blake in the ERC for nearly seven hours for silently

protesting, forcing him to pay a bond of $450, could cause a reasonable person to

question whether their constitutional right to protest is worthwhile. PFOF ¶¶ 5, 8, 24. Such

a result is exactly what the First Amendment retaliation claim seeks to prevent.

       The First Amendment protects the “right of the people peaceably to assemble.”

U.S. Const. Amend. I. “The amount of access to which the government must give the

public for First Amendment activities, and the standards by which a court will evaluate

limitations on those rights, depends on the nature of the forum at issue.” John K.

MacIver Inst. for Pub. Pol’y, Inc. v. Evers, 994 F.3d 602, 609 (7th Cir. 2021). In a


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traditional public forum, such as a street or park, restrictions on the time, place, and

manner of First Amendment activity may be imposed so long as they are content-

neutral, narrowly tailored to serve a significant governmental interest, and leave open

ample alternative channels of communication of the information. Ward v. Rock Against

Racism, 491 U.S. 781, 791 (1989).

       Interestingly, but not all that surprising is the fact that the Defendant officers knew

who Mr. Blake at least forty minutes before he was brought to Zone 1. Sgt. Ken Krentz

at 10:20p.m. on April 25, 2021, sent an email to Defendant Officers informing them that

"3 subjects were taken into custody, including Justin Blake, Joe Cardinali, and Jonathan

Barker. All 3 were taken without incident.” PFOF ¶ 36; ECF. 73-10.

       In an email regarding Mr. Blake’s arrest at 12:49 a.m., Defendant May emailed that

the person arrested “is believed to be Justin Blake; a community activist and uncle of

Jacob Blake.” PFOF ¶ 38. Defendant May doubled down on his identification of Blake

and put the same description of Blake on his incident report at 12:50 a.m. PFOF ¶ 39.

       Shortly after arresting Blake, Defendant Bissonnette, who saw numerous media

reports, called the jail and let them know that “I might have arrested Justin Blake and was

told by staff that they would “make a note of it.” PFOF ¶ 40.

       At 3:20 a.m., while Mr. Blake was in his fourth hour of silent protest and still in the

ERC, Sgt. Ryan Murkowski sent an email to Defendant Officers, positively identifying

Justin Blake as the person that was still in custody and “refus(ing) to talk.” PFOF ¶ 41.

       Four minutes later, at 3:24 a.m. Defendant May forwarded his email to Murkowski

where May described , “Justin Blake; (as) a community activist and uncle of Jacob Blake.”

PFOF ¶ 42.



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       How can Defendant Officers claim that they “did not know Blake” and that placing

him in the ERC from approximately 11:00 p.m. to 5:45 a.m. was somehow for their “safety”

due to the lack of identification when it is clear that they did know Mr. Blake’s identity?

ECF 82 at 10. This not only suggests a serious dispute of material fact but highlights how

desperate Defendant Officers are to sway this Court improperly.

       Equally as damaging for County Defendants is Defendant Bissonnette’s arrest

sheet. Bissonette arrested Mr. Blake at 11:08 p.m., writing on the arrest sheet that night

that he had arrested Justin Blake, and mentioning his name no less than twenty times.

PFOF ¶ 37. ECF 79-3 at 1-2.

       The truth is that Defendant Officers knew who Mr. Blake was before he was placed

into the ERC and forced him to remain in the ERC using “safety” as a pretext despite

their knowledge. Defendant Officers were also equally aware that Mr. Blake continued his

silent protest after his arrest and retaliated against him by placing him in the ERC for not

“giv(ing) his name and talk(ing).” PFOF ¶¶ 2, 4, 5, 8, 34, 41. Defendant Haynes testified

that at one point he briefly took Mr. Blake out of the ERC and “pleaded with (Blake)” that

he “did not want to be a part of whatever this turns into.” PFOF ¶ 149.

       The fact that the record contains a volume of evidence proving that the Defendant

Officers knew who Mr. Blake was dispels any argument that the ERC’s use was

reasonable or even necessary. Instead, the ERC was used as punishment and in

retaliation for Mr. Blake’s protest against police brutality. Defendant Officers argue that

they could not have possibly retaliated against Mr. Blake because they were “concerned

for his safety.” ECF 82 at 10. As evident in the record, there exists as least four email

communications and police reports during the relevant time period where Defendant




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Officers identified Mr. Blake as one of the peaceful protestors who was arrested. PFOF

¶¶ 36-39, 41-42. Additionally, Defendant Haynes testified that he knew who Justin Blake

was when he was arrested on the night of April 25th. PFOF ¶ 43. Defendant Officers

incredulously want to insult the intelligence of this Court to believe that they had no idea

who Mr. Blake was and therefore they were left with no other choice but to violate their

own policies and the law and put Mr. Blake in the ERC for “safety reasons”. ECF 82, at

10. The officers repeatedly violated Mr. Blake’s constitutional rights and used his silence

during the protest as a pretext to arrest him for a meritless obstruction civil infraction and

further retaliated against him by placing and keeping him restrained in the ERC for hours;

all because they were “burdened” by Kenosha’s “nightmare” over the Jacob Blake

shooting. PFOF ¶ 22, 32, 118.

       Mr. Blake, whom every single officer acknowledged was not combative and never

physically resisted, was punished and forced into the ERC. PFOF ¶ 47.

       Because a properly instructed jury can reasonably infer that the Defendant Officers

 had underlying intentions to stifle Mr. Blake’s First Amendment right to protest and

 remain silent, and because that same jury can reasonably infer that Blake’s activities

 were a substantial or motivating factor in their arresting and/or placing and keeping him

 in the ERC, the First Amendment retaliation claim must proceed to trial.

II.    Defendants Bissonnette, DiCello, Galvan, Haynes, and May Violated Blake’s
       Fourth and Fourteenth Amendment Rights Against Excessive Force and
       Arrest. (Claim 5).

       Because Mr. Blake was a pre-trial detainee at the time of the incident, his

excessive force claim falls under the Fourteenth Amendment’s Due Process Clause

rather than the Eight Amendment’s Cruel and Unusual Punishment clause. Lewis v.




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Downey, 581 F.3d 467, 473 (7th Cir. 2009).3 In the Seventh Circuit, summary judgment

is to be used sparingly in excessive force cases where, as here, the parties’ versions of

the facts differ sharply. See Abdullahi v. City of Madison, 423 F.3d 763, 774 (7th Cir.

2005) (holding that “since the Graham reasonableness inquiry ‘nearly always requires a

jury to sift through disputed factual contentions, and to draw inferences therefrom, we

have held on many occasions that summary judgment or judgment as a matter of law in

excessive force cases should be granted sparingly.’”)(citations omitted). Courts in this

Circuit consistently adhere to this rule. See, e.g., Phillips v. Cmty. Ins. Corp., 678 F.3d

513, 520 n. 4 (7th Cir. 2012) (“We certainly agree that summary judgment is frequently

inappropriate in excessive force cases.”).

          The Fourteenth       Amendment's        Due     Process      Clause     "protects     a pretrial

detainee from the use of excessive force that amounts to punishment." Kingsley v.

Hendrickson, 135 S. Ct. 2466, 2473, 192 L. Ed. 2d 416 (2015). To determine whether the

force was objectively unreasonable, courts must take into account the particulars of each

case, considering "the perspective of a reasonable officer ... including what the officer

knew at the time." Id. Courts also must consider the government's "need to manage the

facility" and defer to the "policies and practices [that] ... are needed to preserve internal

order and discipline and to maintain institutional security." Bell v. Wolfish, 441 U.S. 520,

540, 547, 99 S. Ct. 1861, 60 L. Ed. 2d 447 (1979); Kingsley, 135 S. Ct. at 2473. A claim

that police officers used excessive force while making an arrest, investigatory stop, or

other seizure is analyzed under the Fourth Amendment’s “objective reasonableness”




3
    Plaintiff concedes that its Sixth Claim of Cruel and Unusual Punishment may be dismissed.


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standard. Graham v. Connor, 490 U.S. 386, 388, 109 S. Ct. 1865, 104 L.Ed.2d 443

(1989). The ultimate question in analyzing a particular use of force is “whether the officers’

actions are ‘objectively reasonable’ in light of the facts and circumstances confronting

them, without regard to their underlying intent or motivation.” Id. at 397.

       In order to make such a determination as to the amount of force used, “[t]he law

requires an assessment of the totality of the facts and circumstances, which includes

consideration of ‘the severity of the crime at issue, whether the suspect poses an

immediate threat to the safety of the officers or others, and whether he is actively resisting

arrest or attempting to evade arrest by flight.’” Estate of Smith v. City of Milwaukee, 410

F. Supp. 3d at 1071, quoting Strand v. Minchuk, 910 F.3d 909, 914-15 (7th Cir. 2018),

cert. denied, 139 S. Ct. 1629, 203 L.Ed.2d 900 (2019); Muhammed v. City of Chicago,

316 F. 680, 683 (7th Cir. 2002)(“Deadly force may be used if the officer has probable

cause to believe that the armed suspect (1) ‘poses a threat of serious physical harm,

either to the officer or to others,’ or (2) ‘committed a crime involving the infliction or

threatened infliction of serious physical harm’ and is about to escape.”) quoting

Tennessee v. Garner, 471 U.S. 1, 11-12, 105. S. Ct. 1694, 85 L.Ed.2d (1985). Thus, as

applied to the present case, this means that Justin Blake has a constitutional right to not

be forced into the ERC if he did not put anyone else in imminent danger or attempt to

resist arrest for a serious crime. Weinmann v. McClone, 787 F.3d at 447. The discussion

of each of the three potential factors for the Court to consider as to amount of force used

demonstrates that the Defendant Officers did not have a proper justification to use the

ERC and thus, the force applied was objectively unreasonable and excessive.

       A.     Mr. Blake was not combative, violent, or resistive and the force used
              was objectively unreasonable.



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      Pursuant to the training manual for the ERC, “The Emergency Restraint Chair

(E.R.C.) is intended to help control combative, self-destructive, or potentially violent

detainees.” PFOF ¶ 46. Every Defendant Officer, Jessica Bergmann, and the Kenosha

County Representative agrees that Mr. Blake was never combative, self-destructive, or

potentially violent before, during, or after he was placed in the ERC. PFOF ¶ 47.

Additionally, according to the KSD Response to Resistance and Aggression Policy 511,

Defendant Officers are trained to, “only use the minimum amount of force reasonably

necessary to achieve the objective for which force is used. PFOF ¶ 148.

      The use of a restraint chair is excessive where the person being restrained has not

“refused orders to cooperate [and] stand up.” See Hokamp v. Miller, No. 21-CV-1125-

JPS, 2023 WL 129793, at *13 (E.D. Wis. Jan. 9, 2023), quoting Cibulka v. City of Madison,

448 F. Supp. 3d 1002, 1024 (W.D. Wis. 2020), aff'd, 992 F.3d 633 (7th Cir. 2021). Not a

single Defendant Officer alleges that Mr. Blake was combative, violent, or that there was

a medical reason to place him in the ERC for nearly seven total hours. Furthermore, the

County Defendants’ motion is devoid of any rationale excuses as to why a “quiet and

calm” Blake, who was detained for noncriminal disorderly conduct and obstruction

allegations, was restrained in the ERC for nearly seven hours. PFOF ¶ 3, 22, 61. The only

reason identified by Defendant Officers is that Mr. Blake somehow posed a safety risk to

himself or others. ECF 82 at 10. And this statement is not backed up by policy. Mr. Blake

was no safety threat, because, if he truly were as Defendants allege, he would never have

been allowed to keep on his sweatshirt, shoes, socks, pants, watch, and belt – which are

all items that a person is prohibited to wear if they are placed into the ERC. PFOF ¶ 78,

102. Defendant May testified that Mr. Blake was put in the ERC with the restricted items




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because he was “a high-profile inmate”, despite also claiming to not know who Mr. Blake.

PFOF ¶ 120. May testified that,

       “The fact that he may have been Justin Blake, a high-profile, potentially
       high-profile inmate, like I said before, if we’re physically removing items, it
       causes the issue of harm to staff, you know, injuries to staff, injuries to the
       subject and would not. So, the best option was to put him in the chair.
       Everything was on camera.” Id.

       The nonsensical argument that Mr. Blake was a safety concern is mitigated entirely

by how accessible ligatures were to Mr. Blake. Ironically, pursuant to Kenosha’s Inmate

Reception policy on dealing with high-profile persons, it states that “high-profile offenders

should not be treated differently than other inmates”. PFOF ¶ 108.

       According to Kenosha Sheriff’s Department Operational Policy 407 on the use of

an Emergency/Safety Restraint Chair it states that :

              “The restraint chair will be used to temporarily restrain and/or
              transport combative inmates for safety reasons.” PFOF ¶ 52.

       The only excuse Defendants provide for placing Mr. Blake in the ERC was “for

safety reasons” but every single Defendant acknowledges that he was never combative.

ECF 82 at 10. And the cases Defendants cite are not on point. For instance, Defendants

cite to Cibulka to try to argue that the use of the chair was appropriate. ECF 82 at 22. In

Cibulka, the plaintiff was told to “stand up and come to segregation”, but he refused and

began to actively resist. Cibulka v. City of Madison, 448 F.Supp.3d at 1014-1015, 1024.

There, the jail officials told plaintiff that they would use the ERC if he did not get up but

he continued to resist. Id. Because the Cibulka continued to resist, the officers used the

ERC to transport him from the booking area to a segregation cell. Id. Importantly, the jail’s

nurse came to check on the plaintiff and confirmed that he was safely and properly

secured in the ERC, for no more than two hours. Id., at 1015.



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       Additionally, Hokamp likewise is no help to Defendants. ECF 82, at 23. In Hokamp,

upon arrival to the jail, the plaintiff refused to exit the squad car, was agitated, aggressive,

and was yelling “rape.” Hokamp v. Miller, No. 21-CV-1125-JPS, 2023 WL 129793, at *13

(E.D. Wis. Jan. 9, 2023). Id. When plaintiff was placed in the ERC, she continued to yell,

curse, and physically resist. Id. Moreover, the court found that five hours in the chair was

not excessive because the plaintiff was continuously monitored by the jail’s medical staff,

refused to exit the squad car, was agitated, aggressive, yelling, and screaming “rape,” the

court found that the use of the ERC was not excessive. Id., at *13-14.

       This case is nothing like Cibulka or Hokamp - where the use of the ERC was

appropriate for a physically violent, combative, resisting detainee when the detainee was

monitored by the jail’s medical staff. Here, even the Kenosha County Corporate

Representative, Douglas Simpson, agreed that Mr. Blake was placed in the restraint chair

because “the only thing he did not do was give his name and talk”. PFOF ¶ 8. Mr.

Blake never resisted, was not combative, was not violent, was not screaming, did not

claim to be suicidal, was not monitored by the jail’s medical staff, and was placed in the

chair without incident. PFOF ¶ 47.

       Defendant May, who ordered that Mr. Blake be placed in the ERC, admitted that

“the policy doesn’t say that you can use (the ERC for) noncombative inmates.” PFOF ¶54.

       The following table shows the views of all Defendant witnesses noting Blake was

not combative and his consistent cooperation before and while he was in the ERC:


      WITNESS                   Jacob Blake not combative, violent, or resistive

                        Blake did not physically resist, (he) was not violent, was not
     Jeremy May         combative, did not say he was suicidal, and was put in the chair
                        without incident. PFOF ¶ 53.



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                           When placing Blake under arrest he was cooperative and was
     Kyle Bissonnette      not violent, aggressive, resistive, or combative. PFOF ¶ 55.
                           Did not recall Blake physically resisting, combative, or violent on
      Gloria Galvan        April 25 or April 26, 2021. PFOF ¶ 56.

       Deeremeyun          Did not witness Blake being violent, combative, aggressive, did
         Haynes            not think he was under the influence of drugs, and did not think
                           he was suicidal. PFOF ¶ 58.
                           Did not recall Blake being combative, aggressive, violent, or
      Jacob DiCello        physically resistive. PFOF ¶ 59.

    Douglas Simpson – There is nothing in the reports that suggests that Mr. Blake was
     Kenosha County   uncooperative, combative, physically resisting, suicidal, self-
      Representative  destructive, or on any type of drugs. PFOF ¶ 60.

         While Mr. Blake stood “quiet and calm,” as described by Nurse Bergman,4

supervising Defendant May directed his officers to, “Put (Blake’s) ass in the damn chair!”

PFOF ¶ 61, 62. The “chair” that Defendant May was referring to was the ERC, a

mechanical chair made of metal, thick hard plastic, and nylon that secures a person’s

arms, shoulders, waist, and ankles with restraints that was purchased by Kenosha County

in the late 1990s. PFOF ¶ 63. Mr. Blake’s shoulders, arms, wrists, waist, and ankles were

tightly strapped in the ERC for hours while being forced to sit upright. PFOF ¶ 64.

         Placing Mr. Blake in the ERC was an excessive use of force. PFOF ¶ 66. And it

was not an emergency situation, nor was he placed in the chair for any medical purpose.

PFOF ¶ 67. Mr. Blake was finally released from the chair at around 5:38 a.m. only

because he identified himself. PFOF ¶ 68. Bissonnette upon arresting and bringing in Mr.

Blake had already filled out the medical screening form prior to his placement in the ERC

and noted that he did not have Tuberculosis. Id. After Mr. Blake said his name, and



4
 Plaintiff dismissed Jessica Bergmann from this claim but she is a fact witness to the actions of the other
Defendant Officers.


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despite the supposed concerns for his safety, Simpson testified that the officers never

took his belt, hoodie, or shoelaces. PFOF ¶ 70. Plain and simple, Mr. Blake was placed

in the ERC as punishment.

        A timeline of the events is important to assess the totality of the circumstances.

Defendant Bissonnette arrests Mr. Blake at 9:40 p.m. for municipal ordinance violations

and conducts a search of him. PFOF ¶ 3; ECF 83, CDPF ¶ 47. Bissonette leads Mr.

Blake, who is handcuffed, into the KSDF at 11:07:19 p.m., with two other officers including

Defendant DiCello who performs another search of Mr. Blake. PFOF 3, 71; ECF 83, CDPF

¶ 65.




                                                                             PFOF ¶ 71.

        At 11:07:46 p.m. Blake is seen standing with his hood on his head, sunglasses,

and a facemask surrounded by several officers, handcuffed, wearing a “Justice for Jacob

Blake” hoodie, with Defendant DiCello to his left and Bissonnette to his right.




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ECF 83, CDPF ¶ 65; PFOF 72.

          Next, at 11:09:27 p.m., Mr. Blake remains handcuffed and continues to stand

calmly while Defendant DiCello removes his hood and his sunglasses without issue.5

ECF 83, CDPF ¶ 68; PFOF ¶ 73.




          Then at 11:10:23 p.m. upon the orders of Defendant May, the ERC is retrieved by

Defendant Galvan. Mr. Blake is flanked by Defendants Haynes and DiCello, calmly


5
    Four other officers pictured including Defendant Bissonnette and Haynes, observe.



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walks, while three officers including Bissonnette and May continue to observe. ECF 83,

CDPF 70 ; PFOF 74.



                                                                                      .




      The video continues at 11:11:22 p.m., less than 1 minute later, showing a still non-

combative, cooperative Mr. Blake who continues to be handcuffed, at the orders of May,

being led to sit down in the ERC, surrounded by eight officers including Defendants

Haynes, DiCello, Bergman, Galvan, and Bissonnette. ECF 74-9 at 07:57 ; PFOF ¶ 73.




      Despite all of Mr. Blake’s cooperation, less than four minutes after having walked

into the KSDF, at 11:11:26 p.m., Below is a picture, as identified by Gloria Galvan during




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her deposition, of the Defendants DiCello, Galvan, and Haynes6 participating in strapping

Blake in the ERC because of his silence. PFOF ¶ 48, 76.




        And it is curious why there is such a large audience for an unknown man to be

placed in an ERC. There is no conceivable reason for Mr. Blake to have been strapped

to an ERC, which according to the KSD ERC Policy 407 and the ERC Training Manual is

supposed to be “used to temporary restrain and/or transport combative inmates,” other

than for direct punishment in exercising his constitutional rights. PFOF ¶¶ 46, 52.

        And finally, at 11:15., Mr. Blake is strapped and fully restrained in the ERC, is

wheeled away by Defendant DiCello and placed in a locked holding cell. PFOF ¶ 77.




6
 Defendant Kyle Bissonnette is also pictured with his back to Blake in the photograph but was not identified
by Gloria Galvan during her deposition.


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       The record is overflowing with evidence for a reasonable jury to find that the force

used against a non combative or resistive Mr. Blake who was restrained in the chair, for

nearly seven hours, will wearing prohibited items was objectively unreasonable. PFOF ¶

46, 47, 52, 78.

       Defendants also falsely claim that their only reason for using the ERC was because

they had “no reasonable alternative” to gain Blake’s compliance with the booking process.

ECF 82, at 25. This is a false and misleading statement that contradicts sound evidence.

Plus, case law is clear that obtaining mere compliance is not enough to warrant the use

of force of a restraint chair. See Cibulka v. City of Madison, 448 F.Supp.3d at 1014-1015,

1024 (concluding that the use of the restraint chair was a reasonable use of force because

the detainee refused to walk himself to the segregation cell after being noncooperative in

the booking process and become violent, aggressive, and began resisting). Because the

use of force must be exercised in proportion to the threat posed, this court should deny

defendants summary judgment on Blake’s Fourteenth Amendment excessive force

claims. See Cyrus v. Town of Mukwonago, 624 F.3d 856, 863 (7th Cir. 2010) (“Force is




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reasonable only when exercised in proportion to the threat posed”) (internal citations

omitted).

       Besides, in comparing the facts taken in the light most favorable to Mr. Blake, as

well as the facts asserted by Defendant Officers, this Court should find it near impossible

to claim that there exists no dispute of material fact. In addition to every Defendant Officer

noting that Blake was never combative, the Court also has the benefit of the surveillance

video which is the best evidence here; Mr. Blake is never seen resisting, is never

observed as combative, violent, or dangerous. ECF 74-9, PFOF ¶ 47. For these reasons,

a reasonable jury could conclude that use of the ERC was excessive force in violation of

Mr. Blake’s constitutional rights.

       B.     Mr. Blake was not placed in the ERC for medical or safety reasons.

       Defendants argue that “Blake refused to answer critical medical and mental health

questions that were necessary for booking, he refused to identify himself, and he refused

to remove prohibited items necessary to hold him in a cell without use of the ERC.” ECF

82, at 10. This is untrue. Defendants do not offer a single citation to testimony from any

of the Defendants stating that Mr. Blake refused to answer any medical and mental health

questions. PFOF ¶ 79. That is because it does not exist. Plus, Nurse Bergmann succinctly

testified that, Blake “was not placed in the (chair) for medical reasons.” PFOF ¶ 67.

       Per Suicide Watch Procedure 413, Defendants are aware that if they really had

any medical or mental health concerns regarding Blake that the officers would have been

required to complete a “Medical/Mental Health Screening Visual Observation Report.” –

which would not have required any answers from Blake. PFOF ¶ 80. Per the policy,

Defendant May and other supervisors would have been required to order that a Mental




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Health Risk Assessment Form be completed. PFOF ¶ 81 at 2. Also, per the policy they

would have been required to place Mr. Blake on suicide watch. Id. Furthermore, per the

policy, officers would have been required to remove Mr. Blakes clothing and place him in

a safety gown. Id. at 3. And finally, per policy, officers would have been required to refer

Mr. Blake to a mental health professional as soon as practical. Id. Not a single action per

the Suicide Watch policy happened because Blake’s potential medical or mental health

condition was of no moment to the Defendants. Id., ¶ 80, 81.

       Additionally, Defendant Officers and Nurse Bergmann acknowledge that they

never bothered to ask him any medical questions, nor did they see anyone attempting to

ask Mr. Blake any medical questions. PFOF ¶¶ 67, 83-85. The only “evidence” produced

is self-serving and inconsistent with prior testimony. Defendant Bissonnette, the arresting

officer of Mr. Blake, curiously signed a declaration stating that “at no point did (Blake)

answer health questions required for booking.” ECF 79, at 2. Conversely, Bissonette

testified that he did not witness any health questions being asked of Blake and that “he

would assume” that Blake was asked such questions as part of the booking process but

could not recall. PFOF ¶ 85 Nurse Bergmann could not recall conducting a medical

assessment of Blake nor asking him one single question medical or otherwise, . PFOF ¶

84.

       For some inexplicable reason, Defendant’s DiCello also signed a declaration that

states “at no point did (Blake) indicate he was uncomfortable while sitting in the ERC,”

and “he did not indicate that he was in pain while sitting in the ERC .” ECF 76, at ¶¶ 8-9

However, DiCello also testified that he “does not recall” if he or anyone else, asked Blake




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if he was in pain or discomfort while in the ERC, because his “comfort is not our priority.”

PFOF ¶ 86.

       Douglas Simpson, agreed that Mr. Blake was placed and kept in the restraint chair

because “the only thing he did not do was give his name and talk”. PFOF ¶ 8. While

Mr. Blake may not have said his name, Defendant Officers clearly knew his name. PFOF

¶¶ 34-43. Defendant May testified that another purported reason for keeping Blake in the

ERC was for “safety reasons” and that prior to being put in the ERC there was a FastID

conducted that did not come back with any information. PFOF ¶ 94. This is also false.

FastID is a data tool that requires a person’s fingerprint to track particular data. PFOF ¶

93. Despite the fact that Mr. Blake cooperated in providing his fingerprint, not one single

Defendant Officer knows who supposedly conducted the FastID check of him. PFOF ¶

95.

       Mr. Blake was never told that if he “did not cooperate” and speak that he would be

placed in the ERC. PFOF ¶ 96. Conveniently, not a single officer audio recorded

conversations with Blake despite them having the means to do so. Furthermore, Blake

testified that after being in overwhelming “extreme pain for a prolonged amount of time,”

he had no choice but to say his name. PFOF ¶ 97. At that point, he was released from

the ERC. Id.

       Continuing on the flawed theory that Mr. Blake was required to sit in the ERC for

safety reasons, he was not asked to remove any “prohibited items” when he was released

from the chair. ECF 82 at 10. The video of Mr. Blake walking into the detention facility to

be booked and placed in the cell clearly shows that he is cooperative and was not

combative throughout the entire process. ECF 74-9. Mr. Blake was wearing sunglasses,




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a face mask, hooded sweatshirt with ties, shoes with laces, and pants with a belt. PFOF

¶ 98. The sunglasses were removed, face mask was taken off, and the hood of his

sweatshirt was lowered all without incident. Id.

       Considered in the light most favorable to Mr. Blake, a reasonable jury could

conclude that he did not pose an immediate threat to anyone and that the use of the ERC

was excessive force in violation of his constitutional rights.

       C.     Mr. Blake being placed and kept in the ERC for nearly seven hours was
              objectively unreasonable and excessive.

       An officer may not use excessive force “against a non resisting or passively

resisting subject.” Coder v. Giese, No. 21-CV-109-WMC, 2023 WL 4637129, at *5 (W.D.

Wis. July 20, 2023), quoting Dockery v. Blackburn, 911 F.3d 458, 467 (7th Cir. 2018);

Abbot v. Sangamon Cnty., Ill., 705 F.3d 706, 727 (7th Cir. 2013). And “[f]orce is reasonable

only when exercised in proportion to the threat posed,” See Cyrus, 624 F.3d at 863

(internal citations omitted).

       Kenosha County Representative, Douglas Simpson, testified that there were

other less restrictive measures that could (and should) have been utilized but were not.

PFOF ¶ 100. Simpson testified that Mr. Blake clearly walked in the jail with no resistance

and there was no evidence that Blake stiffened, purposefully stopped walking or showed

any sort of “dead weight.” PFOF ¶ 101. Other less restrictive uses of force measures that

officers could (and should) have taken include simply asking Blake to take off his shoe

and sweatshirt to gain compliance; officers could have placed Mr. Blake in the padded

observation room – as Bissonette acknowledged doing for other inmates; officers could

have placed him in the change out room, as Defendant DiCello acknowledges doing for

other combative inmates; officers could have sought counseling for Mr. Blake; officers



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could have handcuffed him to the wall; pursuant to the KCSD Inmate Reception policy

and Defendant May’s declaration that Mr. Blake was a “high-profile detainee,” he should

have been placed in specialty housing; or officers could have simply released him from

custody for the municipal tickets for which persons are routinely never arrested or even

jailed. PFOF ¶¶ 100, 103-108.

       Defendant May approved the use of the ERC, stating that, despite the policy clearly

acknowledging that the ERC is a use of force, May testified that he did not know “that

placing someone in the restraint chair is a use of force” and that he “didn’t consider it as

use of force.” PFOF ¶ 110, 124. May further testified that after working with the KSD for

over fifteen (15) years, Mr. Blake was the first time that he ever “used the restraint chair

for someone (who was not) speaking.” PFOF ¶ 113. It is clear from Defendant Officers

that the ERC was rarely - if ever - used for an individual electing to remain silent:

                                     Mr. Blake was the first person who
       WITNESS              Defendant Officers ever put in the ERC for not speaking


   Kyle Bissonnette       After working in KSD for over seven (7) years he could not
                          remember ever putting someone in the ERC solely because
                          they did not verbally respond to questions. PFOF ¶ 112.


     Gloria Galvan        She didn’t know why Blake was being put in the ERC and also
                          did not bother to ask. PFOF ¶ 114.

 Deeremeyun Haynes        After working for the KSD for over ten (10) years he does not
                          know one single person who was put in the restraint chair for
                          not speaking and/or for refusing to remove their belt, shoes, or
                          hoodie. PFOF ¶ 115.

     Jacob DiCello        He was not trained that everyone who does not verbally
                          speak is to be put into the ERC. ECF 73-5, at 94:19-22.




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       Mr. Blake being restrained in the ERC for nearly seven hours was an objectively

unreasonable amount of force. It was clear, that while Mr. Blake was in the ERC that he

was in pain. PFOF ¶ 116. The jail video captures the limited painful movements that Blake

could make while restrained in the ERC that showed his legs shaking, flexing his hands,

head moving up and down as well as side to side. ECF 74-11, 74-12, 74-13, 74-14. Also,

according to the ERC training and as displayed on a brightly florescent WARNING sticker

on the back of the ERC, a person is not to be “in this (ERC) chair for more than TWO

hours.” PFOF ¶ 117. The evidence is clear that Mr. Blake was kept in the ERC for nearly

seven hours and at one stretch was not taken out of the chair for nearly four hours. PFOF

¶ 118-119. This constitutes excessive force.

       Mr. Blake was not resisting, was not combative, and there were no safety or

medical concerns that justified restraining Mr. Blake to the ERC. PFOF ¶ 47. Mr. Blake

cooperatively walked into the KSDF and sat in the chair as instructed, all while silently

protesting. PFOF ¶¶ 2, 4, 47, 54-60, . Because there are substantial issues of fact, a

properly instructed jury can reasonably infer that the Defendants’ use of force of placing

Mr. Blake in an ERC for nearly seven hours was objectively unreasonable and

constituted excessive force. For these reasons, the Court should deny summary

judgment and allow this case to proceed to trial on the merits.

III.   Blake’s Failure To Intervene Claim Survives Because Defendant Officers
       Knew The Use Of The ERC Violated Blake’s First, Fourth And Fourteenth
       Amendment Rights. (Claim #7)

       Defendant Officers failed      to   intervene when      Blake   was illegally and

unconstitutionally placed in the ERC as retaliation for his right to remain silent. “[U]nder

certain circumstances, a state actor’s failure to intervene renders him or her culpable

under § 1983.” Yang v. Hardin, 37 F.3d 282, 285 (7th Cir. 1994). To succeed on a claim


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for failure to intervene, a plaintiff must demonstrate that the defendants “(1) knew that a

constitutional violation was committed; and (2) had a realistic opportunity to prevent it.”

Gill v. City of Milwaukee, 850 F.3d 335, 342 (7th Cir. 2017). A realistic opportunity to

prevent it includes telling officers to stop their action. Stewardson v. Biggs, 43 F.4th 732,

736 (7th Cir. 2022) (quoting Yang, 37 F.3d at 285).

       A.      Defendant Officers knew that a constitutional violation was taking
               place against Mr. Blake.7

       Defendant Officers knew the use of the ERC violated Blake’s First, Fourth, and

Fourteenth Amendment rights because all Defendants have failed to articulate a

justifiable reason for its use in the first place. The use of the ERC cannot be used to obtain

mere compliance with answering questions; there has to be more than a detainee who

has decided to remain mute. PFOF ¶ 8; Cf. Cibulka v. City of Madison, 448 F.Supp.3d at

1014-1015, 1024, (concluding that the use of the restraint chair was a reasonable use of

force because the detainee refused to walk himself to the segregation cell after being

noncooperative in the booking process and becoming violent, aggressive, and resisting).

Because the use of force must be exercised in proportion to the threat Mr. Blake posed—

which was none, based on the available video evidence - Defendants Officers knew that

a constitutional violation was being committed. PFOF ¶ 131, 132, 148.; See Cyrus, 624

F.3d at 863 (“Force is reasonable only when exercised in proportion to the threat posed”)

(internal citations omitted).

       B.      Defendant Officers had a realistic opportunity to prevent use of the
               ERC on Mr. Blake for nearly seven total hours but did nothing.




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 Defendant Jessica Bergmann is also a named party on this claim and Plaintiffs will fill a Motion in
Opposition to her Summary Judgment. ECF 70.


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       Defendant Galvin, who retrieved the chair, testified that Defendant May issued the

order to put Blake in the ERC but she could not remember why. PFOF ¶ 113. Defendant

Officers all had a realistic opportunity to question the other officers’ choice and rationale

for putting Blake in the ERC but did nothing. PFOF ¶ 122.

       Defendant May, as the supervising officer, approved use of the restraint chair,

ordering his officers to “put his ass in the damn chair.” PFOF ¶ 62. Defendants Haynes,

DiCello, and Galvan dutifully followed May’s unlawful orders, strapping Mr. Blake into the

chair for nearly seven total hours and never voicing any concerns, never tried to intervene.

PFOF ¶ 76, 77118, 122. It was only after a pained Blake, having been restrained in the

chair for hours, said his name that he was let out of the ERC. PFOF ¶ 97, 116.

       Kenosha County Use of Force Policy 300 provides:

       “any officer who witnesses another officer or person using objectively
       unreasonable force has a duty to 1) intervene and 2) is required to report these
       observations to another supervisor.” PFOF ¶ 123.

       A reasonable juror could conclude that the Defendant Officers violated Mr. Blake’s

constitutional rights by using objectively unreasonable force against him and they had

seven hours to intervene and never once did. PFOF ¶ 122. Therefore, the failure to

intervene claim should not be dismissed.

IV.    The Defendants Officers are not entitled to Qualified Immunity.

       The County Defendants wrongly raise the argument that its officers are entitled to

qualified immunity for injuring and violating Mr. Blake’s constitutional rights. Qualified

immunity “protects government officials from liability for civil damages insofar as their

conduct does not violate clearly established statutory or constitutional rights of which a

reasonable person would have known.” Pearson v. Callahan, 555 U.S. 223, 231, 129 S.




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Ct. 808, 172 L.d.2d 565 (2009)(emphasis added). Qualified immunity operates “to ensure

that before they are subjected to suit, officers are on notice their conduct is unlawful.”

Pekrun, 172 F. Supp. 3d at 1048 (citations omitted).

      Once the defense of qualified immunity is raised, a plaintiff “must show (1) that

the defendant violated a constitutional right, and (2) that the right was clearly

established at the time so that it would have been clear to a reasonable officer that

her conduct was unlawful in the situation.” Ewell v. Toney, 853 F.3d 911, 919 (7th Cir.

2017) (explaining that “qualified immunity shields from liability [defendants] who act in

ways they reasonably believe to be lawful”); Becker v. Elfreich, 821 F.3d 920, 925 (7th

Cir. 2016); Weinmann, 787 F.3d at 447.

      While the Supreme Court's case law “do[es] not require a case directly on point for

a right to be clearly established, existing precedent must have placed the statutory or

constitutional question beyond debate.” White v. Pauly, 580 U.S. 73, 79, 137 S. Ct. 548,

196 L.Ed.2d 463 (2017) (internal citations omitted). “In other words, qualified immunity

protects all but the plainly incompetent or those who knowingly violate the law.” Malley v.

Briggs, 475 U.S. 335, 341, 106 S. Ct. 1092, 89 L.Ed.2d 271 (1986).

      A.     The Facts Show that Mr. Blake’s Constitutional Right to be Free from
             Excessive Force were Violated.

      Under the Supreme Court precedent, the first prong of inquiry for this Court is to

determine whether the officers used excessive force, and thus violated Cole’s Fourth

Amendment constitutional rights, pursuant to Tennessee v. Garner, 471 U.S.1, 105 S. Ct.

1694, 85 L.Ed.2d 1 (1985), Graham v. Connor, 490 U.S. 386, 109 S. Ct. 1865, 104

L.Ed.2d 443 (1989), and their related progeny. See Strand, 910 F.3d at 914-15.




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      According to the ERC Policy 407, placing someone in the ERC is a use of force.

PFOF ¶ 124. And in order for a person to be placed in the ERC there are several specific

requirements that need to be meet. First, it requires the approval of a supervisor. Id. And

the ERC is only to “be used to temporarily restrain and/or transport combative inmates

for safety reasons.” PFOF ¶ 52. While clearly Defendant May approved the use of the

ERC , there is no evidence that Blake was combative at any time to justify restraining him

for nearly seven hours in it. PFOF ¶ 47. Defendant Officers used excessive force when

they placed and kept Blake in the ERC for hours and such force was not objectively

reasonable. PFOF ¶ 22. Thus, Defendants violated Blake’s constitutional right to be free

from excessive force.

      B.     The right was “clearly established” at the time of the alleged violation.

      The question here is whether it was clearly established that an officer is not

permitted to place someone in the ERC who is not violent, combative, resistive, or

abusive. The answer is yes, it was clearly established.

      Defendants, in moving for summary judgment, assert that they had a right to arrest

and place a cooperative, non-combative, silently protesting Mr. Blake in the ERC because

he did not talk. PFOF ¶ 8. However, every Defendant Officer testified that at no time was

Blake combative, which is a prerequisite for placing anyone in the ERC. PFOF ¶ 47.

Defendants claim that they placed Mr. Blake in the chair for “safety reasons,” however

other then not saying his name, which they knew, there is no evidence that Mr. Blake was

an actual safety concern. PFOF ¶¶ 34-43. A passive Mr. Blake was handcuffed and

placed under arrest; he walked into the van, he was fingerprinted; he then walked into the




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KSDF; his sunglasses and hood were removed by officers; he walked to the ERC sitting

down, and he did all of these things cooperatively and without incident. PFOF ¶¶ 71-78.

         The use of a restraint chair is excessive where the person being restrained has not

“refused orders to cooperate [and] stand up.” See Hokamp, No. 21-CV-1125-JPS, 2023

WL 129793, at *13 (E.D. Wis. Jan. 9, 2023), quoting Cibulka, 448 F. Supp. 3d at1024

(W.D. Wis. 2020), aff'd, 992 F.3d 633 (7th Cir. 2021). Thus, whether Blake was a safety

concern and whether Defendants could use excessive force by placing Blake in the ERC

for silently protesting for nearly seven total hours was an unconstitutional use of force that

was clearly established at the time. PFOF ¶¶ 2, 4, 22, 47. For these reasons, the Court

should deny qualified immunity.

V.       Mr. Blake’s Negligent Hiring, Training, and Supervision Claim Against
         Kenosha County8 Must Survive. (Claim 12)

         There are genuine issues of material fact that precludes summary judgment on Mr.

Blake’s negligent hiring, training, and supervision claim against County Defendants.

Defendants argue that Blake is unable to maintain this claim based on their conclusory

statement that they are entitled to discretionary immunity, that Bergmann did not have a

propensity to approve the actions of law enforcement even if they go against medical

policies and the medical interests of Blake, and that this is in essence is a Monell Claim.

ECF 82, at 39-40. Defendant’s arguments fail on all fronts.

          To prove his state claim for negligent hiring, training and supervision, Mr. Blake

    must prove the following elements:

          (1) the existence of a duty of care on the part of the supervisor, (2) a
          breach of that duty of care, (3) a wrongful act of the supervisee that was


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  VNCC is also a named defendant on this claim. Plaintiff also filed a Motion in Opposition to their Motion
for Summary Judgment. ECF70.


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        a cause of injury to the plaintiff, and (4) an act or omission of the
        supervisor that was a cause of the supervisee's wrongful act.

Kolbe & Kolbe Millwork, Co. v. Manson Ins. Agency, Inc., 983 F. Supp. 2d 1035, 1048

(W.D. Wis. 2013).

       Negligent hiring, training, and supervision occur where an employer fails to train or

inadequately trains an employee, and that employee then causes injury to another.

Wisconsin first recognized this tort in Miller v. Wal-Mart Stores, Inc., 219 Wis. 2d 250,

274, 580 N.W.2d 233 (1998). The court in Miller observed that the general elements of

negligence apply to require proof of a duty of care, a breach of that duty, a causal

connection between the conduct and the injury, and damages. 219 Wis. 2d at 260.

       As to cause, the issue is whether the employer's failure to exercise due care was

a cause-in-fact of the wrongful act of the employee that in turn caused the plaintiff's injury.

Id., 219 Wis. 2d at 261. “In other words, there must be a nexus between the negligent

hiring, training, or supervision and the act of the employee.” Id. at 262. This nexus involves

two questions. The first question is whether the employee's wrongful act caused the

plaintiff's injury. See Id. The second is whether the employer's negligence was a cause

of the employee's wrongful act. Id. “[T]he negligence of the employer must be connected

to the act of the employee.” Miller, 219 Wis. 2d. at 262-63.

       First, Linda Scott, the corporate representative of VNCC, testified that Mr. Blake

was a patient to Defendant Bergmann, and that as her patient it “is her domain” to check

if the restraints were causing Mr. Blake harm and it also is her duty to make sure he is

taken out of the chair every two hours. PFOF ¶¶ 128-129. Additionally, pursuant to the

VNCC Contract, Ms. Bergmann was required to “comply with all rules and general

regulations of the KPSD.” PFOF ¶¶ 130-132. This would include the KSD Use of Force


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Policy which requires employees to stop and report any objectively unreasonable force,

such as placing Mr. Blake in the ERC. PFOF ¶ 131. . And she would be required to follow

the ERC training manual, to make sure that Blake is out of the chair at least every two

hours, which she also did not comply with. PFOF ¶ 133.

       Mr. Blake’s ultimate injuries were foreseeable and pursuant to the ERC Training

Manual an inmate is not to be in the chair for more than two hours and the training notes

misuse of the chair without reading and thoroughly understanding the instructions may

result in injury or death. PFOF ¶¶ 116, 133

       Ms. Scott could not say for certain that Defendant Bergmann had completed any

training as it relates to use of the ERC, she had not seen any documents to that effect,

and she did not know if she was even competent in her role in relation to use of the chair.

PFOF ¶ 135.

       Defendant Bergmann testified that this was her first job as a nurse, she “couldn’t

recall” being directed to read the ERC Manual as is a required part of the training, and

that she had not received any training by Kenosha County regarding the use of restraints.

PFOF ¶ 136. Ms. Scott testified that Defendant Bergmann should have been trained by

Kenosha County on use of the ERC but never verified that she was. PFOF ¶ 137.

Bergmann had a duty of care to her patient, Mr. Blake, and has an obligation to report

any harm to him by making a simple phone call which she failed to do. PFOF 138.

       There are two reasons why we know that the County Defendants and VNCC did

not properly train or supervise Bergmann: (1) Neither the County nor VNCC ensured that

Bergmann was formally trained on the use of restraints, use of force, and more importantly

the use of the ERC as required, and (2) the lack of supervision over Bergmann, to which




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she failed in her obligation to report the objectively unreasonable use of force that

unnecessarily harmed Blake as would have been required of her had she been properly

trained. PFOF ¶¶ 134-138.

       It is clear that a lack of training on various policies directly led to the harms that Mr.

Blake eventually faced. Id., PFOF ¶ 116. It is also plausible for a jury to hold the County

liable for its failure to ensure that Defendant Bergmann was properly trained on how to

treat patients that were placed in the ERC and to make sure they were properly monitored.

       The   County’s     inaction   in   both   training   and   supervision    demonstrates

unreasonableness making it liable for the consequences of its failures. A reasonably

instructed jury could find that the County breached their duties to monitor Defendant

Bergmann. That same jury could find Kenosha County was deficient in its training and

supervision of her.

VI.    Defendants Bissonnette, Galvan, Haynes, and May Failed to Render Aid to
       Mr. Blake.

       Because the plaintiff was a pretrial detainee, the court analyzes his claim that he

was denied adequate medical care under the Fourteenth Amendment. Miranda v. County

of Lake, 900 F.3d 335, 352 (7th Cir. 2018) (citing Kingsley v. Hendrickson, 576 U.S. 389,

135 S. Ct. 2466, 192 L. Ed. 2d 416 (2015)). To proceed on this claim, the plaintiff must

show that 1) "the 'defendants acted purposefully, knowingly, or perhaps even recklessly'"

and 2) "the defendants' actions were [not] 'objectively reasonable.'" Pittman by & through

Hamilton v. County of Madison, Ill., 970 F.3d 823, 827 (7th Cir. 2020)(quoting Miranda,

900 F.3d at 353-54). Neither negligence, gross negligence nor medical malpractice

amount to deliberate indifference. See Miranda, 900 F.3d at 353. The plaintiff's

allegations must show "'more than negligence but less than subjective intent—something



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akin to reckless disregard'" to proceed on a Fourteenth Amendment claim. Id. at 353-

54 (quoting Gordon v. County of Orange, 888 F.3d 1118, 1125 (9th Cir. 2018)).

       In viewing the videos of Mr. Blake in the ERC, it is clear that he is in pain. ECF 74-

11, 74-12, 74-13, and 74-14. Defendant Officers made no effort to provide any medical

care to Mr. Blake who was subjected to the restraint chair for nearly seven total hours.

PFOF ¶ 118. Defendants are aware that since Mr. Blake was in their custody that they

had an obligation to address any medical or mental health concerns that they had

regarding Blake. PFOF ¶ 139. Since Mr. Blake was not speaking, per the Suicide Watch

Policy 413 the officers would have been required to complete a “Medical/Mental Health

Screening Visual Observation Report”, which would not have required any verbal answers

from Blake. PFOF ¶ 143. Defendant May and other supervisors would also have been

required to order that a Mental Health Risk Assessment Form be completed. Defendants

did not do either of these things. PFOF ¶ 144.

       Also, the ERC training manual it states, “detainees should not be left in the

Emergency Restraint Chair for more than two hours.” PFOF ¶ 117. Mr. Blake was

subjected to the ERC for nearly seven total hours, of which from approximately 1:53 a.m.

until 5:40 a.m., no one let him out of the chair. PFOF ¶¶ 145.

       Defendant Officers should be liable for their failure to act to protect Mr. Blake’s

constitutional rights. Acosta v. City of Chicago, 2018 WL 3630011, *5 (N.D. Ill. July 31,

2018) (“Police officers have a constitutional duty to provide adequate medical care to

people in their custody.”), citing Currie v. Chhabra, 728 F.3d 626, 630 (7th Cir.

2013) (quoting West v. Atkins, 487 U.S. 42, 55–56 (1988)). The issue here is the

seriousness of the need for medical attention. Clearly, as evidenced on the restraint chair




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itself where it warns that it could cause injury or death that is serious. Acosta, 2018 WL

3630011, *5 (N.D. Ill. July 31, 2018) (“Under the Fourth Amendment, the inquiry into

seriousness operates on a sliding scale.”), citing Ortiz v. City of Chicago, 656 F.3d 523,

531 (7th Cir. 2011). And in cases of delayed medical access, “’the length of delay that is

tolerable depends on the seriousness of the condition and the ease of providing

treatment.’ McGowan v. Hulick, 612 F.3d 636, 640 (7th Cir. 2010) (collecting cases

analyzing delayed treatment under the Eighth Amendment).”).

       Defendant Officers failed to provide aid to Mr. Blake and such failure was

objectively unreasonable. Despite acknowledging that Step 1 of the ERC manual warned

against a person being placed in the chair for wearing nonallowable items such as a

watch, hoodie, socks, shoes, belts – which Mr. Blake was wearing - for fear that they

may cause injury or death, Defendant May testified that he could not recall being trained

on Step 1 he did not recall if anyone asked Blake to remove these articles, and

acknowledges that these items were not removed from Blake the entire time he was in

the chair. PFOF ¶¶ 102,146. Defendant Officer Haynes witnessed officers in dealing

with combative detainees take nonallowable items. PFOF ¶ 150. Specifically, Haynes

testified that for combative detainees not wanting to remove such items that they would,

escort them to,

      “Female Holding Cell 3 and they would be told to kneel on the ground. And if they
      refused to kneel on the ground depending on their level of resistance they would,
      you know, be escorted to the ground and those items they are not allowed to have
      would be removed from them and then they would be secured inside the cell.” Id.

      There are serious questions of facts as to why Defendant Officers did not render

aid to Mr. Blake or inquire as to the length of time Mr. Blake was subjected to the ERC.

For these reasons, the failure to render aid claim must survive summary judgment.



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VII.    Mr. Blake’s Indemnification and Direct-Action are Theories of Damages.

        Plaintiff acknowledge that indemnification pursuant to Wis. Stat § 895.46 is a

theory of damages, not a private cause of action. Therefore, indemnification—only “as a

claim”—may be “dismissed,” provided, however, that Plaintiff are not waiving their right

to proceed on indemnification for damages. As for the direct-action claim, Blake has

shown above that the County Defendants negligently hired, trained, and supervised.

Therefore, the direct-action claim should not be dismissed.

VIII.    Punitive Damages Should Not Be Dismissed Because There Is A Disputed
         Issue Of Fact That Requires A Jury.

        Because there are genuine disputes of material fact, punitive damages should be

left to the jury to decide. Defendants do not cite any case that says punitive damages can

be decided at summary judgment. See ECF 82, 44, citing Soderbeck v. Burnett County,

Wis., 752 F.2d 285, 288, 289-90 (7th Cir. 1985) (deciding defendant’s motion for direct

verdict regarding punitive damages at the close of plaintiff’s case in trial). Seventh Circuit

precedent holds that whether a defendant’s conduct warrants punitive damages is for the

jury to decide. Parker v. Four Seasons Hotels, Ltd., 845 F.3d 807, 815–16 (7th Cir. 2017)

(“whether punitive damages can be awarded for a particular cause of action is a matter

of law, but the question of whether a defendant's conduct was sufficiently willful and

wanton to justify imposing punitive damages is generally for the jury to decide.” (internal

citations omitted)). There are genuine disputed issues of material facts that prevent

summary judgment on the merits, so the issue of punitive damages should go to a jury.

                                      CONCLUSION

        For the reasons stated herein, Plaintiff request that this Court DENY the County

Defendants’ motion for summary judgment and allow this matter to proceed to trial.



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Dated this April 15, 2025.



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